Case 2:19-cv-12165-DPH-APP ECF No. 22, PageID.583 Filed 08/09/21 Page 1 of 8




                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA and                   Civil Action No. 19-12165
the   States   of    CALIFORNIA,               Hon. Arthur J. Turnow
CONNECTICUT,            FLORIDA,
ILLINOIS,       MASSACHUSETTS,                 Mag. Judge R. Steven Whalen
MICHIGAN, NEW YORK, OHIO,
RHODE ISLAND, and TEXAS, and
the Government of PUERTO RICO, ex
rel. MSP WB, LLC and MICHAEL
ANGELO.

             Qui tam Plaintiffs-
             Relators,

      v.

UNDER SEAL DEFENDANTS 1 -
317,

          Defendants.
__________________________________/


           AMENDED JOINT NOTICE OF ELECTION TO DECLINE
                          INTERVENTION1

      Pursuant to the False Claims Act, 31 U.S.C. § 3730(b)(4)(B), Michigan’s

Medicaid False Claim Act, M.C.L. 400.610a, and the False Claims Acts of

California, Connecticut, Florida, Massachusetts, New York, Rhode Island, Puerto


1
 This joint notice replaces the notice filed at Docket Number 21. The caption on
Docket Number 21 did not accurately list all of the parties added by the Amended
Complaint.
Case 2:19-cv-12165-DPH-APP ECF No. 22, PageID.584 Filed 08/09/21 Page 2 of 8




Rico and Texas, the United States of America (“United States”) and Michigan,

California, Connecticut, Florida, Massachusetts, New York, Rhode Island, Puerto

Rico, and Texas (“States”) hereby notify the Court of their respective decisions not

to intervene in this action.

      The Complaint was filed in July 2019 naming the United States and the State

of Michigan as plaintiffs. On March 9, 2021, the United States and Michigan

notified the Court of their decision not to intervene. Thereafter, Relator filed an

Amended Complaint which includes additional plaintiffs. The United States and

Michigan, California, Connecticut, Florida, Massachusetts, New York, Rhode

Island, Puerto Rico, and Texas have reviewed the Amended Complaint and have

elected to decline intervention in the Action.

      Although the United States declines to intervene, the United States

respectfully refers the Court to 31 U.S.C. § 3730(b)(1), which allows the relator to

maintain the action in the name of the United States; providing, however, that the

“action may be dismissed only if the court and the Attorney General give written

consent to the dismissal and their reasons for consenting.” Id. Therefore, the

United States requests that, should either the relator or the defendant propose that

this action be dismissed, settled, or otherwise discontinued, this Court solicit the

written consent of the United States before ruling or granting its approval.




                                           2
Case 2:19-cv-12165-DPH-APP ECF No. 22, PageID.585 Filed 08/09/21 Page 3 of 8




      Additionally, M.C.L. 400.610a(1) permits the relator to maintain this action

in the name of the State of Michigan; providing, however, that the action may be

dismissed only if the Attorney General for the State of Michigan is notified and

given an opportunity to oppose the dismissal. The analogous statutes of California,

Connecticut, Florida, Massachusetts, New York, Rhode Island, Puerto Rico, and

Texas similarly allow the relator to maintain the action in the name of the states;

providing, however, that the action may be dismissed only if they are notified and

given an opportunity to oppose the dismissal. See, e.g., N.Y. State Fin. Law §

190(5)(a); Fla. Stat. § 68.083(2).

      Furthermore, pursuant to 31 U.S.C. § 3730(c)(3), the United States requests

that all pleadings filed in this action be served upon the United States; the United

States also requests that orders issued by the Court be sent to its counsel. The

United States reserves its right to order any deposition transcripts, to intervene in

this action, for good cause, at a later date, and to seek the dismissal of the relator’s

action or claim. The United States also requests that it be served with all notices of

appeal.

      Likewise, the Attorney General for the State of Michigan, pursuant to

M.C.L. 400.610a(6), requests that her office be served with copies of all pleadings

and court orders filed in this action. The Michigan Attorney General also requests

that her office be served with all notices of appeal. California, Connecticut,


                                            3
Case 2:19-cv-12165-DPH-APP ECF No. 22, PageID.586 Filed 08/09/21 Page 4 of 8




Florida, Massachusetts, New York, Rhode Island, Puerto Rico, and Texas also

request that the same rights be afforded to them.

      A proposed order accompanies this notice.

                                       Respectfully submitted,
                                       SAIMA S. MOHSIN
                                       Acting United States Attorney

Date: 8/9/2021

                                       /s/John Postulka
                                       JOHN POSTULKA (P71881)
                                       Assistant United States Attorney
                                       211 W. Fort Street, Suite 2001
                                       Detroit, Michigan 48226
                                       (313) 226-9118
                                       john.postulka2@usdoj.gov

                                       DANA NESSEL
                                       Michigan Attorney General

                                       /s/Jason Evans
                                       JASON EVANS (P61567)
                                       Assistant Attorney General
                                       525 W. Ottawa Street
                                       Lansing, Michigan 48909
                                       (517) 241-6500
                                       EvansJ@michigan.gov

                                       ROB BONTA
                                       Attorney General of California

                                       By: /s/Matthew C. Kilman
                                       Matthew C. Kilman
                                       Deputy Attorney General
                                       Office of the Attorney General
                                       Division of MediCal Fraud and Elder Abuse

                                         4
Case 2:19-cv-12165-DPH-APP ECF No. 22, PageID.587 Filed 08/09/21 Page 5 of 8




                                   1615 Murray Canyon Rd., Suite 700
                                   San Diego, California 92108
                                   Tel. (619) 358-1011
                                   Email: Matt.Kilman@doj.ca.gov

                                   WILLIAM TONG
                                   Connecticut Attorney General

                                   /s/Gregory O’Connell
                                   Gregory O’Connell
                                   Assistant Attorney General
                                   Office of the Attorney General
                                   165 Capitol Ave, Hartford, CT 06106
                                   Office: +1 860-808-5040
                                   Gregory.O’Connell@ct.gov

                                   ASHLEY MOODY
                                   Florida Attorney General

                                   By: /s/ Cedell Ian Garland
                                   Cedell Ian Garland
                                   Deputy Director – Civil Enforcement
                                   Florida Bar No: 58640
                                   Office of the Attorney General
                                   Medicaid Fraud Control Unit
                                   PL-01, The Capitol
                                   Tallahassee, FL 32399
                                   Telephone: 850- 414-3904
                                   Facsimile: 850- 410-0179
                                   Email: Cedell.Garland@myfloridalegal.com

                                   COMMONWEALTH OF
                                   MASSACHUSETTS
                                   MAURA HEALEY
                                   Attorney General

                                   By: /s/ Toby R. Unger
                                   Toby R. Unger, Chief, MFD
                                   BBO No. 633805
                                   Assistant Attorney General
                                     5
Case 2:19-cv-12165-DPH-APP ECF No. 22, PageID.588 Filed 08/09/21 Page 6 of 8




                                   Medicaid Fraud Division
                                   One Ashburton Place, 18th Floor
                                   Boston, Massachusetts 02108
                                   P: (617) 963-2033
                                   Toby.Unger@mass.gov

                                   LETITIA JAMES
                                   Attorney General

                                   By: /s/ Diana Elkind
                                   Diana Elkind
                                   Senior Counsel
                                   Medicaid Fraud Control Unit
                                   Office of the Attorney General of New York
                                   State
                                   28 Liberty Street
                                   New York, NY 10005
                                   212-417-4171
                                   Diana.Elkind@ag.ny.gov

                                   DOMINGO EMANUELLI HERNANDEZ
                                   Puerto Rico Attorney General

                                   By: /s/ Luis Freire
                                   LUIS FREIRE
                                   Prosecutor
                                   Medicaid Fraud Control Unit
                                   Puerto Rico Bar #17287
                                   Puerto Rico Department of Justice
                                   PO BOX 9020192
                                   San Juan, PR 00902
                                   (787) 721-2900 x1568
                                   (787) 717-4902 (cel)
                                   lfreire@justicia.pr.gov




                                     6
Case 2:19-cv-12165-DPH-APP ECF No. 22, PageID.589 Filed 08/09/21 Page 7 of 8




                                   STATE OF RHODE ISLAND

                                   PETER F. NERONHA
                                   ATTORNEY GENERAL

                                   By: /s/James F. Dube
                                   James F. Dube, #4381
                                   Assistant Attorney General
                                   150 South Main Street
                                   Providence, RI 02903
                                   (401) 274-4400

                                   KEN PAXTON
                                   Attorney General of Texas

                                   By: /s/ Susan Arenella
                                   Susan Arenella
                                   State Bar No. 24001320
                                   Assistant Attorney General
                                   Civil Medicaid Fraud Division
                                   Office of the Attorney General for Texas
                                   P.O. Box 12548
                                   Austin, Texas 78711
                                   Telephone: 512-936-1448
                                   Facsimile: 512-936-0674
                                   Email: Susan.Arenella@oag.texas.gov




                                     7
Case 2:19-cv-12165-DPH-APP ECF No. 22, PageID.590 Filed 08/09/21 Page 8 of 8




                              Certification of Service

      I hereby certify under penalty of perjury that on August 9, 2021, this Joint

Notice Of Election To Decline Intervention and the Proposed Order will be served

by first class mail, postage prepaid, upon Relator at:

      Attorney Shereef Akeel
      888 W Big Beaver Road, Ste. 420
      Troy, MI 48084


                                              /s/ Aida Garmo
                                              Legal Assistant




                                          8
